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7    LOAN ADVOCACY GROUP d/b/a
     “STUDENT LOAN PROCESSING
8
     CENTER,” AJIT AHOOJA, DAVID
9    PEARLMAN, and MICHAEL HULTZ

10                          UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF CALIFORNIA
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     CRAIG CUNNINGHAM,                      Civil Action No: 18cv0329-GPC-JLB
14
               Plaintiff,                   Judge: Hon. Gonzalo P. Curiel
15                                          Magistrate: Hon. Jill L. Burkhardt
          v.
16                                          JOINT STIPULATION OF
   STUDENT LOAN ADVOCACY                    DISMISSAL WITHOUT PREJUDICE
17 GROUP, et al.,
                                            Action Filed:     February 10, 2018
18             Defendants.                  Trial Date:       None set
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           TO THE COURT AND ALL PARTIES:




                                              1
                  JOINT STIPULATION DISMISSAL WITHOUT PREJUDICE
     Cunningham v. Student Loan Advocacy Grp., Civil Action No. 18cv0329-GPC-JLB
1          PLEASE TAKE NOTICE that pursuant to FRCP, Rule 41(a)(1)(A)(ii), IT
2    IS   HEREBY        STIPULATED,        by    and    between    Plaintiff,   CRAIG
3
     CUNNINGHAM, and Defendants, STUDENT LOAN ADVOCACY GROUP
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     d/b/a “STUDENT LOAN PROCESSING CENTER,” AJIT AHOOJA, DAVID
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     PEARLMAN, and MICHAEL HULTZ, by and through their respective counsel,
6
     that the entire above-captioned action is voluntarily dismissed on a “without
7
     prejudice” basis in accordance with the terms of that certain written settlement
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9    agreement entered into between the parties, which includes a mutual general

10   release and a mutual waiver of costs and attorneys’ fees.

11         The parties to this action hereby request that the above entitled Court enter
12   the appropriate order of dismissal.
13
14   Dated: June 10, 2018         JANATHAN L. ALLEN, APC

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                                      By: /s/ Timothy J. Grant
16                                       Timothy J. Grant, Esq. (SBN 122593)
                                          Email: tgrant@fmglegal.com
17                                        Attorneys for Defendants, STUDENT LOAN
                                        ADVOCACY GROUP d/b/a “STUDENT
18                                      LOAN PROCESSING CENTER,” AJIT
                                        AHOOJA, DAVID PEARLMAN, and
19
                                        MICHAEL HULTZ
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                  JOINT STIPULATION DISMISSAL WITHOUT PREJUDICE
     Cunningham v. Student Loan Advocacy Grp., Civil Action No. 18cv0329-GPC-JLB
1    Dated: June 10, 2018
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                                 By: /s/ Jon B. Fougner
3                                    Jon B. Fougner, Esq. (SBN 314097)
                                      Email: Jon@FougnerLaw.com
4                                    Attorneys for Plaintiff,
                                     CRAIG CUNNINGHAM
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                  JOINT STIPULATION DISMISSAL WITHOUT PREJUDICE
     Cunningham v. Student Loan Advocacy Grp., Civil Action No. 18cv0329-GPC-JLB
